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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )           8:05CR422
                     Plaintiff,                   )
                                                  )
       vs.                                        )             ORDER
                                                  )
ROSE MEROLLA,                                     )
                                                  )
                     Defendant.                   )
       This matter is before the court on the motion of W. Russell Bowie to withdraw as
counsel for the defendant, Rose Merolla (Merolla) (Filing No. 49). Mr. Bowie has been
appointed a district judge for Douglas County, Nebraska, and will no longer be able to
represent Merolla. Mr. Bowie’s motion to withdraw (Filing No. 49) is granted.
       Since Mr. Bowie was retained by Merolla, Merolla shall cause a substitute counsel
to enter an appearance in this matter on or before April 4, 2006. In the absence of such
an appearance, Merolla will appear before the undersigned magistrate judge in courtroom
No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 9:00 a.m. on April 5, 2006, for a hearing as to the status of her
representation in this matter.
       Mr. Bowie shall return the discovery materials provided the defendant by the
government to government’s counsel who shall hold such materials for transfer to Merolla’s
new counsel.
       Mr. Bowie shall provide a copy of this order to Merolla and explain to her the
significance of the order.
       IT IS SO ORDERED.
       DATED this 24th day of March, 2006.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
